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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DOUGLAS BEEVERS, AZ Bar #016370
     Assistant Federal Defender
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     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorney for Defendant
     THERESA ANN CARR
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. CR-S-09-00170-GEB
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND [PROPOSED] ORDER
13        v.                         )     TO CONTINUE STATUS CONFERENCE
                                     )
14   ROBERT L. CARR, and THERESA ANN )
     CARR,                           )     Date: June 4, 2010
15                                   )     Time: 9:00 a.m.
                    Defendant.       )     Judge: Hon. Garland E. Burrell
16                                   )
     _______________________________
17
          IT IS HEREBY STIPULATED between the parties, Samuel Wong, Assistant
18
     United States Attorney, for plaintiff United States of America, on the
19
     one hand, and Douglas Beevers, Assistant Federal Defender, attorney for
20
     defendant Theresa Ann Carr, and C. Emmett Mahle, Esq., attorney for
21
     defendant Robert Carr, on the other hand, that the status conference of
22
     June 4, 2010 at 9:00 a.m., be vacated, and the matter be set for status
23
     conference on June 25, 2010 at 9:00 a.m.
24
          The reason for the continuance is allow additional time to continue
25
     plea negotiations. Also, defense counsel needs additional time to review
26
     with their respective clients the voluminous discovery (over 30 boxes of
27
     documents). The parties agree a continuance is necessary for these
28
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1    purposes,        and   agree   to    exclude    time   under   the   Speedy    Trial   Act
2    accordingly.
3           IT IS STIPULATED that the period from the date of the parties’
4    stipulation, May 17, 2010, and up to and including June 25, 2010, shall
5    be excluded in computing the time within which trial of this matter must
6    be    commenced        under   the   Speedy    Trial   Act,    pursuant   to   18   U.S.C
7    §3161(h(7)(A) and (B) (ii) and (iv) and Local Codes T2 (unusual and
8    complex case) and T4(ongoing preparation of defense counsel).
9
     Dated: May 17, 2010
10                                                  Respectfully submitted,
11                                                  DANIEL BRODERICK
                                                    Federal Defender
12
13                                                  /s/ Douglas Beevers
                                                    ________________________
14                                                  DOUGLAS BEEVERS
                                                    Assistant Federal Defender
15                                                  Attorney for Defendant
                                                    THERESA ANN CARR
16
17   Dated: May 17, 2010
18                                                  /s/ C. Emmett Mahle
                                                    ___________________________
19                                                  By: C. EMMETT MAHLE
                                                    Attorney for defendant
20                                                  Robert Carr
21   Dated: May 17, 2010
22                                                  BENJAMIN B. WAGNER
                                                    Acting United States Attorney
23
24                                                  /s/ Samuel Wong
                                                    ___________________________
25                                           By:    SAMUEL WONG
                                                    Assistant U.S. Attorney
26
27
28


     Stip and Order                                 -2-
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1                                            ORDER
2           UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
3    ordered that the status conference presently set for June 4, 2010, be
4    continued to June 25, 2010, at 9:00 a.m. Based on the representation of
5    defense counsel and good cause appearing therefrom, the Court hereby
6    finds that it is unreasonable to expect adequate preparation for pretrial
7    proceedings and trial itself within the time limits established in 18
8    U.S.C. § 3161, the case is unusual or complex within the meaning of the
9    Speedy Trial Act, and the requested continuance is necessary to provide
10   defense counsel reasonable time necessary for effective preparation,
11   taking into account the exercise of due diligence. The Court finds the
12   ends of justice to be served by granting a continuance outweigh the best
13   interests of the public and the defendant in a speedy trial. It is
14   ordered that time from the date of the parties’ stipulation, May 17 ,
15   2010, up to and including, the June 25, 2010, status conference shall be
16   excluded from computation of time within which the trial of this matter
17   must be commenced under the Speedy Trial Act pursuant to 18 U.S.C.
18   §3161(h)(7)(A) and (B)(ii) and (iv) and Local Codes T2 (unusual and
19   complex case) and T4 (allow defense counsel reasonable time to prepare).
20   Dated:      May 18, 2010
21
22                                       GARLAND E. BURRELL, JR.
23                                       United States District Judge

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26
27
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     Stip and Order                           -3-
